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000 Mbits/sec ; Results averaged over sequence

260 264-1 3.5 35,88 97,09 36.48 Se5nAR 3197888 Table Tennis + 9,
261 265 PO 4.9 | (9S,08 36.04 98.69 290904 95.91 95.50 35.72 HOS272 3436272
eee Se aioadee Poth: int fo lus inance 34.36 6B
or lusinanc .
269 7o BR ES 9367 30.20 98.78 inode dsgoaze SNE for chroulnance (Cb} 40.43 6B
265 253 8 5.8 33,68 36.24 36.83 118901 118904 Pana oh regimens (cr) Mia ab
266 270 PL 3.0 a79h le sneer eifichents 32676459 bits
267 271 P2 3.7 38,40 26.47.35,79 4gn7z0 soaaz4 Cb 2628843 bits
268 255 B 6S 654304 ‘ Cr 2451813 bits
269 267 «B63 33, 48 36.08 35.61 102456 T104ad total 37767115 bits
270 268 B 6.5 62926 Motion vectors 4234502 bits
271 269 2D 6.8 33,14 36.01 35.68 103403 813668 Overhead datieas ie
272 276 Fl 3.2 1072075 FOTAL A4966148 bits
273 277 F232 35.44 36.42 35.83 53016¢ 1344n4A Mean valuo of @ scale 3.35
214.772: «= OS 1389168
275 373 BB 8.S 33.36 35.07 35.69 96912 1440360
276 274 B 6.2 1463512 I-picture ; 23 pictures
2717275 B 6,3 39.39 35.62 95.58 89296 1533656 SNR for luminsnce 36.75 ¢B
278 282 Pl 4.2 1798312 SER for chrosinance (Ch) 41.00 dB
279 283 P2 3.2 38.86 38.42 35.86 528312 2061968 SHR for chroalnance (Cr) 41,90 dB
280 278 3 6.5 2107712 Number of bits
251 219 B.S 33.14 35.81 35.54 ganas 2160864 Coefficients ¥ 4513078 bits
282 280 DB 6,5 2211048 ze 161943 bine
283 281 5 6.5 33,04 35.88 95.58 109184 2264048 feat sagetee bits
204 288 5 3.6 2618776 Hatton vectors 3 bits
2es 289 Pe 4.6 35,26 36.49 35.67 856336 3120848 Overhead 52135 bits
286 284 B 5.8 5 3162096 ‘OPAL 5650896 bits
207 295 B 5.8 34,33 36.66 36.16 88592 3209040 n 70 ue 0 ale 2.01
\O 28 286 BR OS8 44656 Nean value af 0 se 4
oo 289 287 =D 5.8 33.92 96.28 35.91 92380 92840
290 294 PL 3.0 3851¢0 B-picture = 198 pictures
291 295 P2 3.4 35.26 96.37 98.61 S48528 644408 SER for luuinence - 33.97 4B
292 290 BG, 691008 SER for chro {ob 3.88 d3
253 Z3i oR 6.5 33.08 35.95 95.51 112200 753608 SUR for chrosinance (Cri 41.94 da
234292 BOGS 819552 fuaber of bits -
295 793 8 65 22,82 38.92 35.43 i2aite | 875784 Coefficients 12849946 bits
296 298 Pl 3.2 1135440 cb 965421 bits
297 299 P2 3.5 35.10 36.10 35.57 495104 1370888 cr 870648 bits
1432120 total 146655013 bits
ae zt? 8 6.0 334 i 7735.95 42088 39.48 95.31 35.28 104320 1475208 Motion vectors 3223201 bits
. . - - - Overhaad 1949375 bits
19858592 bits
Wean value of O scele 3. 87
PO-plcture : 13 pletures
SAR for lualnance 6.8) dB
SeR for chrosInance (Cb) i 95 dB
SHR for chroalnence (Cr) 41.97 dB
Muabor of bits
Coafficlents i 4900750 bits
c
: Cr
! total
Rotlon vectors
. Overhoad
- Mean value of Q scale
Pl-picture : 38 pictures
SNR for luainance 34.99 dB
Suk for chro 40,68 dB
SER for chro 41,94 08
funber of bits : 9.0000 fee: Statist fea a
Coefficients ’ 6519288 bits ; Table Tennis : 9.0 Molts/sec les o ch Held and fran
eb 530124 bits fleld statistics frase statistics cosulative
: 468035 bits cou InP T Osc sit St- cb Se-Ce bits SR-Y SH-Cb SA-Cr bits Bit count
totel 7520317 bits o oO T 12 40.9) 595360 $520
Notion vectors 403520 bits to 1Pe 18 ab a6 i i 815392 38.48 41.03 42.14 1410752
Overhead 35a541 bits 2 6 PL 4.3 IT 40.5 79
. TOTAL 62824068 bits 307 P2 58 33.49 40.91 41.66 333917
Kean veiue of @ scale 2. 82 4 2 8 6.0
5 3 B 6.0 31.99 40.54 44.71 egies
5 4 B 6.D
Pa-picture : 38 pletures 7 5 B 6.D 31.60 40.54 41,72 Logo0a
SUR tor Jualnsnce 34,62 a8 8 12 PL 6.3
h 40.59 dB b 13-P2 4.9 30.79 39.21 41.03 434264
{Cr} 41.87 48 10 8 8 7.0 : .
_ Dunder of bits 11 8 a 70 t. 30,29 39.85 41.52 93416
Cootficlents ¥ 4900399 bits i? 10 B 40 at.
cb 418717 bits BU B Wo al. 29.78 39.98 41.19 agzee
fr meara bits IB PE 5.4 4
total 6523887 bits 15 19 P2 6.4 0 40 30.66 39.07 40.74 482320
Motion vactors 47030 bits 16 14 B LG 4
Sverhead 426761 bits W718 B 7.3 40, 29.27 39.14 40.06 122664
TOTAL 6497648 bits 18 16 8 8.0 9 4
Nean value of Q scale 3.08 2 17 B ogo 40. 28.35 39.27 40.81 136048
20024 -«T:Ooe 4l.
2125 80 2,9 at. 36.91 40.21 41.63 1148496
2228 B 9.0 4 4t.
22°21 0 Te 4 29.13 39,32 41.04 123936
2422 8 8.0 ga
25°93 B 7.0 29.91 39.82 41.48 125976
so 26 30 PL §.3
oo 27° 3492 $18 31.05 39.18 40.98 472824
23 26 B86
29°27 2 BG 29.40 39.92 41.12 128256
30028 BOL
at 99 8 Bg 29.27 39.50 40.91 1184s
32036 Pr 5.8
3337 P2 5.4 31.29 39.95 40.63 472368
a4 32 8B 6.0
a5 33 B 8.0
36634 BOG.
37°35 2B 8.0
a8 49 Pf Le
39 43 F2 4.9 31.48 38.98 40.53 451784
40 38 B 6.
41 39 B 6. 30.11 59.14 40.68 184488
42040 8 6.
424. BOB. 29.87 39.08 40.57 135708
4a.
45 49 PO 3.0 34.68 39.57 41.03 Blea
46 4a Bok.
4745 BO. 29.99 39.15 40.85 173776
48046 D8.
49 47 2B 8. 29.82 39.12 40.58 igasaa
50 Sdrl 4.
> S1 65 82 3.0 33.61 39.97 41.467 438952
52 50 A 6.0
$3 5h B 6.0 31.29 39.864 41.29 118088 31.17 39.56 41.96 61852
54 52 8 6.0 31.40 39.75
55 53 BS. 7
55 60 Pl 3.
87 612 4: 2
SR S6 8 5.0 aa. 1
52 57 6 5.0 109312 31.35 40.23
gb Se 8 fo : e $5632
6t 59 & 5.0 32.30 40:97 ‘eh 94086 32.39 40.19 4f.63 192588 1118136

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Gh ib ghee aay i EBrOLs Filled PRO MA? » PANG. & Matias
y Pa 3 ABE ee Ts CURD LAO ell Raval GalaMent Hh Bests File n. Dar Bee
62 8 83 40.49 41. a 3 36,94 41.93 42.81 112096 1660944
B43 40,92 93.19 40.60 42.03 214258 iiss O 37.395 42.08 43.04 145258 37,4 41.59 42.92 257984 1306999
Pit Raa ste SERRE UO8 ea aan mon HER
B43 4 39.40 40.74 42.14 200688 2577840 +89 41,73 42, . . .
I 33 . " qantas +B 34.34 39.98 39.84 2895672 2522728
PO 4.0 34, 34.60 40.92 42,12 369088 9048992 0 33.60 39.15 39.25 130268 33.96 39.25 39.54 «15880 252036
Bag oa, 3063704 +0
83.3 34.43 41.28 43.58 799274 3185216 =O a 33.41 39.29 39,55 $9553 2542488
B 3.0 128832 .o 25B i854
BSG 35.16 43.52 42.97 246512 248512 g 33.47 99.34 39.61 71752 2614240
PI 2.3 460976 9 302086:
P2 3.4 38.47 41,75 42.95 379216 627728 4 37.03 41,24 41.78 692104
B27 759224 al. .
B27 3 35.75 41.97 43.13 270408 898198 41. 34.95 40.93 41.43 66368
B27 3 1031736 al.
B23 3 96.14 41.96 43.35 63c0e 1165135 143 4 35.02 41.08 41.58 84ci6
PL ois 1377664 150 Pi 4
P28 31,04 42.11 43.92 379056 1539193 182 P2 4 97.46 41.80 42.91 424768
223 1677112 148146 8 4
B 2.3 38.81 42,21 43.40 267540 1808993 $49 2470 8 4 36.23 41,37 43.18 142788
B23 1943104 180 148 8 2. 5 42,45
B2.¢ 34,99 36.80 42.24 43.40 290424 2097258 161149 8 2.7 41.90 36,23 41,35 42.46 142864
Pl 1.90 39,21 , 2302192 152.156 P1 1.6 42.7
P2 2.0 37.06 42.20 43. 37.13 42.18 43.15 358700 2455456 153 157 P2 1.0 42.8 38.62 41.99 42.77 483368
B 2.0 37.0 - 2608912 184182 8 2.0 ALT
A 2.3 36.87 42. . 36.96 42.30 43.34 905432 2740863 8S 153 8 37,37 41.84 42.73 245536
B23 36.88 42. . 2873664 186 154 8 2.0 oe
B22 36.89 36.87 42.28 43,27 253R49 20017%¢ i7 166 2 218 37.49 41,85 42,76 228796
6 1 2.5 37.08 . 3241800 188 162 Pl 2.6
Po 3.6 36.84 41.62 62.60 348312 3343112 189 163 P2 1.8 38.63 41.97 42.86 417004
B20 29, 9208 3497376 160 158 & Te
B 2.0 37.30 42.49 43.57 188832 37.99 42.49 43.55 305005 3548208 161 189 B 1.6 38.68 42.02 42.93 955920
8 2.0 39.32 42.61 43.61 185908 155096 162 160 B I.
Bo2.0 97.31 42.56 43.56 143344 37.31 42.54 43.58 299240 299240 163 161 8 3.0 38.66 42.04 42.93 357624
PL 9,7 96.98 41.85 42.58 190352 429592 164 168 2 1.0
P20 7.6 36.83 41.82 12.57 133028 36.79 41.89 42.57 323973 622616 165 169 PO 1.0 38.61 41.81 42.69 sozacs
B30 96.44 42.07 43.08 94873 117488 166 164 B 2.0
B 4.0 42.00 42.91 36.43 42,04 42.98 196152 813768 167 165 B 2.0 37,61 42.23 43.24 210672
8 3.0 92076 iS 166 6B OZ
B 3.0 36.41 41.86 49.78 199232 1612600 tés 167 B 2.0 37.60 42.25 43,26 215000
Pl 1S 3275568 170 174 PL ob
P2 37.67 42.94 63.1239 490975 1442976 11175 P2822 37.93 41.86 43.87 409016
p20 1s90tas 172170 8 2.0
8 3.3 37.18 41.18 43.89 276643 1719424 193 171 B 2.0 $7.31 41.95 42.98 242024
2 20 1467304 14172 8 2/6
B 2.0 37,41 42.22 43.11 286456 2005880 175.173 B 3.0 37.30 41.92 42.96 243072
Pl 1.5 2259256 176 180 Pa.
P2 2.2 37,67 42.19 42.93 SDLONG 2408896 177 181 P24.3 37.99 41.96 42.90 358460
B 2.0 38409864 178176 B 3.0 37,35 41.95 47.96 112076
B23 37.50 42.36 43.30 263352 2679246 179177 B 2.0 37.43 41.99 43,02 223040
6 2.0 2004936 180 178 B 2.0
6 2.0 97.59 42.41 49.39 oRtans 283165e $81 178 Bain S7.43 41.98 43.6% 211360
ii? 3246696 182 186 FP) 1.0
Po 3.0 37.52 40.91 42.75 477752 3409479 183 187 P2 1,2 35.42 42.00 43.02 377640
g2.3 : 3532384 184182 8 1.7 .
3 2-3 37.30 43.29 43.17 248304 3657778 . igs ie : “i 37.65 42.07 43,07 219760
B20 37.21 42.31 43.23 241464 1871858 B 1.3 37.86 42,07 43.06 342358
PL OLS” iss 192 f 10
31.9 37.55 42.06 42.90 alongs 129 193 PO 1a 36.81 41.78
Bao 190 188 B 2.0
B 2,3 37,18 42.19 43.25 248792 191 189 B 2.0 43.33 98 37.61 42.27 43.27 199072 3810536
B20 043504 $92 180 8 2.9 0 S76 42.18 43.13 101672 141672
B20 47. ut 134504 37.97 42.18 49.28 273672 1176808 193.191 B 2.6 37.65 43.29 43.53 SBS © 97.62 49.24 43.92 200000 200340
190 198 PL 2.8 34.54 39.41 99.95 s6eaa9 $69080 260 264 1 3.6 ADB 456 2672200
195 199 F2 4.0 33.92 39.41 39.97 34.22 39.48 39,97 SSeseo | 797120 28i 705 FO 3.0 218328 «38.65 40.36 40,88 622784
190 934 B 8.0 53.07 39.58 40,09 . 841272 262 260 «8 O28 128232
197195 B §.0 32.86 39.92 39.62 32.98 39.45 39.86 164512 921632 263 261 2B 2.7 193048 38.98 41.22 41.97 2gtzee
198 196 8 §.0 33.26 39.82 49.12 s78200 264 262 8 2.8 124496
199.197 8 §.0 33.06 39.38 39.72 33.16 39.50 39.92 103632 1025264 268 263 B 2.7 130872 35.82 41.08 41.70 255368
200 204 PE 1.50 37.56 41.11 42.23 1409784 - 965 270 Pl 3.6 132912
201 205 P2 §.6 33.31 39.32 39.87 34.93 40.18 40.89 479720 I50agR4 267 271 P2 4.2 103744 94.73 40.02 40,53 236656
202 200 B 4.0 34.96 40.55 4t. 31 1§49952 263 266 & 3.9 83800
203.201 B 4.0 94.10 30.68 40.07 34.51 40.04 40.85 102488 1607472 269 267 B 3.7 34.90 40.65 41.18 176718
204202 B 4.0 © 35.05 40.68 at 5, 1650160 270 268 «8 O3'7
268 203 B 4.0 33.98 39.58 40.13 4,49 40.09 40.78 96568 17046000 271 269 8 3.7 14 22a8a2
206 280 PE 1,0 0 38.78 41.37 47.56 2792 2069852 272 216 FL 62.9
207 211 P25 37.60 40,95 38.14 41,17 42.28 678964 2382904 273 297 P20 3.4 40.23 00,87 3148624
308 206 B 2.0 38.98 41.22 24954864 274272 8 315 .
209 207 8 28 38.689 48,75 3b.79 44,98 42,6
210 208 B 2a 36.99 41 99 42.06 263512 BaAbANG 275 21a F 3.§ 35.59 40.96 61.07 249656
211209 8 2.0 38.65 40.38 35.82 41.05 42.17 247935 2894352 277275 8 2.8 36.12 41.03 41.65 296860
212216 1 oad 3404832 278 282 P1 3.3
213217 PO 10 38.42 41.36 42.41 toosiz0 3895536 279 283 P2 3.3 35.17 39.98 $0.87 303582
214212 B20 9999738 280278 8 2.5
218 213 B 2.0 S01 41.62 42.85 209624 atosiE0 281 279 BB 205 36.20 41,06 44.78 278168
216 214 8 2.0 119790 222 280 8 3.5
M7 aI 8 2g 37.12 41.65 42.91 216952 216952 283 28k B 3.2 35.47 60,44 41.32 2927984
218 222 PL 2.0 402304 284288 1 3.2
219 223 P2 4.8 375068 © 631960 285 289 FO 3.0 35.72 40.27 40.89 s4neea
220 216 6 27 651960 286 384 B O3.2
221219 B23 96.23 41.37 42.57 125768 9719798 287: 285 8 3.7 35.23 40.54 41.29 221086
222 220 B29 q17982 286 285 B3.2
ye229 22408 2.7 36.11 41.30 42.47 114072 832600 289 287 -B 3.5 38.41 $0.58 41.37 229160
iis 228 fi zo 1013784 290 298 PL 3.7
mee aaa got 36.47 41,05 62.20 3i4gge i177088 3a 286 2 a4 35.12 39.95 40.80 282860
327225 3 2.3 36.14 4820 42.37 225719 Saanees 293 25; B 3.5 34.96 40.58 41.27 233208
ape sae 5 319 1365024 294 292 8 3.8
239227 8 2.7 38.89 41.15 42.29 21400 s424z00 295 293 8 3.8 34.74 40,22 40.91 217618
230 294 FI 2.0 1809320 296 203 PE 39
23 795 P2341 36,50 40.97 42.07 343792 1767992 297 299 P2 3.6 36.08 39.85 40.70 268536
232-230 8 2,7 1830216 293.295 B 4.8 s I. : 112376
i 231 : 34 30,07 41.08 42.23 222536 $290528 299 297 B 3.5 35.02 to 39 41.02 122992 35.02 40.38 48.11 235368 ieee
235 233 8 2.7 35. . .
ie ia 12a 95 41.06 42.17 134784
PO 1.0 1
238 296 Bao 38.49 41.41 42,48 10046a2
is 437 Bb 4.0
240 238 B33 37.03 41.66 42.99 227560
ia is rt 2.0 26.75 $1.84 42.98 isszeu
247 P20 2.5
i a te 35.79 48.75 41.796 322152
45242 B 27
2a aa , 23 35,86 €1.33 42.51 190879
AT . 35.85 41. .
248 252 Pl 303 5 41.23 43.43 209415
249 253 P2 3.2 35.93 40.71 41.42 30789
281 249 8 207
ier it i i 35.33 40.84 41.52 224680
253 25 2.
354 a8 1 a 95.21 41.06 41.94 250560
HET 35.45 40,23 49,93 274528
B47
hase Boke oa aed? $4.23 40.91 41.04 154640 3
259357 8 46 3482 40-99 41,05 34.81 40.42 41.19 137759 2265680

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Case 2:10-cv-01823-JLR Document 173-5 Filed 02/03/12 Page 3 of 11

: : funder of bits
Mobile and Calender : 9.0000 Nbits/soe : Results averaged over sequence unl er oF bits ' 6239587 bits
Totel : 30) pictures _ Cb 760056 bits
30% for ivainance 32,42 GB cr Teebis bits
SN for chroatnance (Cb) 36,29 dB Motton vectors total THaO1er bes
SNR for chroainance (Cr) 36.86 dB Motton ge5isa bits

Wurber of bits

TOTAL, 8429436 bits
Seotticlents & gies bits Kean valu pt Q scale 3.73

cr 4070065 bits
total 39505705 bits

t 2934311 bit: Pe-pleture : 38 pletures
overnend * 2535596 bits SUR for lusinance 32.56 dB
TOTAL 44975912 bits SER for chroetnance (Cb) 36.20 dB
Wean value of @ scale 5,90 SER for chrosinence (Cr) 36.80 dil \
fusber of bits
Ceafficients ¥ 8395307 bits
553959 bits
I-pletura : £3 pictures cb
, SMR for Lusinance 36.42 dB at ities bits
uo SHR for chroainance (Cb) 38,04 dB Mott to 357782 bhte
. SHR for chrosiaance (Cc) 38,53 dB _ Rotlon vectors 454408 b1t
Rurber of bits ay oan qaitest bits
Goetticients t tainiay bits Mean value of @ scale 4.0l
tr 2493586 bita
totel 9463829 bits
Motion vectors ____0 bits
Overhead 52139 bits
TOTA! 9515968 bits
ee Muan valuo of @ scale 1,94
°
Wa-pictura : 194 pictures
SHR for tualnance 31,69 dB .
SMR for chroslnance (Cb) 36.11 dB
Sit for chrosinanca itr} 36.07 dB

Nurbor of bits
Coofflcients Y 7152122 bits
Cb §D3143 bits

Cr 413176 bits

total 8152441 bits

Kotlon vectors 2059864 bits

Overhead 1558195 bits

TOTAL 11780520 bits
Moan value of 0 scale 1.19

PO-picture :
SRE

ua 7 37,45 6B
SHR for chr Hn 47.95 dB
SNR for chrominance (Cr) * 38.36 dB
Nueber of bits
Cooffleients ¥ 6991524 bits
cb 779808 bits

523139 bits

s ta
126043 bits
. 7907976 bits
Kean value of 0 scale 3.01

Pi-pleture ; 38 pictures
sa

for luainance 33.77 df
SNR for chroatnance (Cb) 36.46 d8
SMR for chrominance (Cr) 37.05 dB
Moblie and Calender ; 9.0000 Kbits/sec : Statistics of each flald and frame $2 66 Pl 3.0 34.69 36.64 37.19 234056 . YOIZ175
' 83 672 3.2 36.55 37.05 447519
fleld statistics framo statistics coaulative 64 62 8B 7.0
cop InP TF asc SH-Ch SK-Cr bits SH-Y SM-Cb Su-Cr bits bit count $5 63 38 7.0 36.43 36.75 142120
Oo OF 12 38.96 39.47 784060 785120 46 64 8 7.0
1 o1Po 10 39.77 40.22 788004 38.55 39.35 39.839 1572968 1573523 67 6S B 7.0 36.00 96.59 136520
2 6 PL 4.2 37.587 28.23 22reas 1794376 se 72 i ina
3.072 409 36.92 33.07 37.23 37.98 391495 1964524 69 73 PO 2.0 38.07 38,61 134
40208 87 1 36.63 3 ~ 2018643 10 58 B70 ’ 1aaise
5 3 8 30 30.97 37.01 37,69 104520 2069145 m1 69 8 O70 36.51 37.02 138616
6 4 8 8&0 2523864 12 70 8 70
1 5 B 9.3 30,82 96.75 37.41 107695 2176808 13°71 8 10 26,63 37.24 139880
2 i3e2 ae 36.35 37.04 195400 932.79 96.41 37.10 a0adan assoeae te ag Pe ad
. . . . AL 3710 4b 25e0238 15 19 PZ 3.4 31.23 37.83 390:
@ 8 2 97 35.96 35.65 51008 2831296 16 14 8 7.0 . ; me
Nog bh Bo 36.27 36.90 $9472 30.61 36.41 36.78 110484 2690768 1 175 8 7.0 36.54 37.03 134816
12010 8 8.7 35.97 35.62 50776 2741544 18 16 «3 6.7
1911 B87 3 95.95 55.55 S74G4 30.40 35.95 36.59 103240 2794008 19°77 -8 O70 : .
ts el ze fp 3 ae yom eb ze 36.63 37.1 139152
15 19 \< < = 182872 32.53 3 82 as p2 49 36.35 35.84 363728
HD a) ER ae ee sie Hien aun ds soon 96-52 thes
: . 30.06 35.38 96,03 187633 3279976 83 81 8 7.0 . -
if bros ae6e Se $4 So BRE os ai aes aoa tre eee
10. . . 39 36,03 104128 85 89 8 7.
" u ie 18 3: masse 5 13 8 7.0 36.42 36.96 {12808
: 89 38, 85255 37.03 38.04 38.66 1307376 a7 P2 4.6 .
2220 8 9.0 36.16 36.76 $3616 a3 it a 3.0 35-88 36.49 409440
23°91 «2B 9.0 96.14 36.76 47540 30.65 96.25 36.77 101256 ag 87 Boao 35.49 55.9% it4e08
SHALES WHR e sit aE ES
I. . 3. 2454 390.80 46.41 37.06 0 8 ‘
O28 30 Pr 322 € 37.34 37.98 223120 ‘ sonee a2 36 ? ty 58-98 36.49 108752
wo 27 U1 P2 3.7 36.68 37.98 195328 34.28 37.00 37.67 428448 93 97 Po 2.6 38.14 38.65 1359328
28 96 B 7.0 36.82 37.44 $5864 94 92 8 8.0
29047 «8 G.F 96.52 37.15 60112 3U.70 36.67 37.29 131976 35°93 6 6.0 36.29 36.72 198256
30098 8 6.7 36.43 37.18 67720 96 94 B 8.0
a8 8 7.0 36.11 36.79 GABA 31.53 36.26 36.98 192544 97 9S B 8.0 36.64 37.04 103008
22 46 Fl 3.5 36.91 37.41 219648 98 102 P1 3.2
33037 Pz 3.8 36.37 37.01 215288 33.96 36.53 37.20 434936 99 1039 P2 3.7 36.90 37.50 456120
34032°«2B O70 8 36.03 30.75 | aStaa ino 98 8 6a
36 33 8 7.0 35.81 56,50 55416 931.94 35.92 36,62 100664 105 $9 B 6.0 36.59 37.95 023784
36 34 8B 7.0 36.13 36.69 54608 102 100 B60
a7 oh oe 26.07 36.98 46944 32.09 96.16 36.93 101359 reside B ss 36.83 37.93 122296
3842 PL 3.4 36.42 87.13 254368 104 108 PL 3.8
39 43 -P2 3.1 96.43 37.18 264656 34.42 36.42 37.13 519024 105 109 P2 3.7 36.35 36.94 4eo1le
40 28 8 6.0 5.86 36.55 66912 106 104 B 7.0
4l 39 8 6.0 35.76 96.439 T1736 92.15 35.81 36.49 138648 107 1058 B 7.0 35,96 36.52 124872
42 40 8 7.0 35.97 36.55 $9312 108 106 6 7.9
43 41 BOB. 35.88 36.61 52338 31.90 35.92 96.58 112648 109 107 & 7.0 36.25 96.75 621608
448 E20 28.15 38.55 719400 190 114 Pa 9.8
45 49 PO 2.0 37.88 18.46 SONGZ) 26.98 IRL O1 ELSE 131g920 HYL ELE BQ 4.2 36.10 36.65 435312
46044-«&B OB. 36.96 37.53 64560 119 tlo BT.
4745 2B OBL 36,45 37.08 58349 33.00 36.70 37.28 122600 131m BOO 35.69 36.25 124952
43°45 2B O68 36.66 37.35 65045 iia iz bot
49 47 8B 5.0 36.55 37.29 76728 32.91 36.61 37.92 141758 115 133 B BLO 35.68 36.22 127624
80 84 Pl 3.7 36.75 37.27 2323916 116120 Tf 1.6
§1 55°P2 3.7 36.64 37.09 201192 33.99 16.63 37.18 424408 117 (21 PO Z.0 38.15 38.62 1375624
52 50 B 7.0 36.66 17.21 44952 118116 8 7.0
53 81-8 7.0 36.19 36.79 46880 32.74 96.47 37.00 91832 N97 8 10 36.36 36.88 133372
54-52 B 7.0 36.86 37.52 51138 120128 B 7.0
55 53 & 7.0 36.51 37.12 46080 32.53 36.73 37.32 97216 121119 8 7.0 36.49 37.05 130608
56 60 PL 3.4 36.26 364.91 249008 122 128 910 4,2
Sv 61 P2 3.6 36.14 36,72 231544 34.13 46.20 36.02 470552 123127 P20 3.8 36.72 37.32 399840
sa 56 8 6.0 36.03 36.67 56397 120122 B 7.0
se 87 8 $.0 35.96 $4.38 68929 39.48 35.86 96.48 27312 1 & 125 123) BOT. 35.35 36.87 125504
6¢ 58 8 5.0 36.71 37.22 §9520 1405608 125 124 B77
oi 53 8 5.0 36.33 36.90 $2512 32.63 36.52 37.06 110032 1458120 127125 BT. 26.93 36.88 12¢8e8 783800

- Oe MS-MOTO_752_0001230375
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1 Gases sPabO wm 01823; JLB D@sUMEN tele B-De NGG Gals Page 4 of tabu
. 7 5 a 3737441157544 199 #20 3.4 14 3. 8 34.53 42 ABISTE =| 544360
. 1205984 196 194 8 5.0 : 621424
Q x St 33.66: ara sng 30.57 35.59 36.27 100712 1256256 197 195 3S. 33.86 36.95 37,43 150056 = 894415
0 30.46 95.84 98.05 51848 1310104 198 196 8 5.0 770088
0 30.48 xe 62 36.38 49480 © 30.44 95.58 36.11 101928 1389584 199 197 B 5.0 33.81 36.88 97.35 151720 846138
9 93,55 35.94 36.83 286568 1616152 200 204 P1 3.9 1058126
2 39.05 35.76 36.37 204975 93.95 35.85 36.80 461544 LAzii2R 201 205 P2 4,1 33.57 36.15 36.86 997272 1243008
a 1897336 202 200 8 7.0 129283
7 30.87 35.30 36.93 142032 1964160 203 201 B 7.0 32.81 36.08 36.50 00224 1343632
7 2029808 g64 202 8 7.6 $993524
0 30.65 38.33 95.89 126616 2089776 205 203 B70 32.43 95,08 36.34 99560 1441192
4 2878600 206 210 PL 3.3 1702152
a 38.27 39.08 39.44 1605232 3695072 207 211 P2 3.6 34.23 396.18 36.76 498920 19390312
a 9754080 2 6 6.0 : 1985192
19 31.20 36.29 36.80 119576 3814648 B 6.0 32.90 35.77 16.28 117808 2007928
7 59080 B 6.0 . 2109392
91.29 36.48 37.06 118272 118272 B 6.0 32.88 35.93 36.27 121960 2159180
abso i 2.6 bOGSC4
92.97 36.55 36.99 9377480 498752 80 2.0 96.97 37.61 30.91 1922912 3492256
5.0 552504 B 6.0 3
5.0 30,81 36.49 37.00 109872 505624 B 6.0 32,35 36.51 37.00 137336
aa 559648 B S.0
a0 30.83 36,26 36.96 110128 T15752 B 6.0 32,40 35.75 37.22 138626
5.0 913054 2:8 292 Pi 3.9
5.2 32.38 35.82 35.36 351752 1067504 219 223 P2 3.9 93.89 36.32 36.79 421040
8.7 1124928 220 218 B 7.0
9.0 30.29 35.52 35.89 111320 1175624 231219 B 7.0 34,69 36.69 27.11 119184
9.0 1232904 222 220 8 7.0
8.0 39.42 35.47 35.92 107992 1286816 223221 8 7.0 31.61 36.20 36.60 itaaza
49 1482056 224 228 Pl 3.8
5.3 32.00 36.96 35,87 asno32 teagets 225 279 P2 3.9 33.81 38.33 35.93 417120
9.0 1692796 228 214 8 7.0
9.0 30.45 95.17 35.99 socndo 1742898 227225 «B70 31.46 95,90 36.37 130272
9.0 1786520 228 225 8 1.0
9.0 30.51 34,90 35.45 92184 1835072 229 227 B10 31.20 95.59 36.12 134248
2.3 2562136 230 234 Pl 3.8
2.0 36.93 37.03 38,54 1331096 3166232 231 235 P2 4.2 33.99 36.22 36.70 391520
9.0 3209528 232 230 8 6.0
9.0 31.20 96.00 98.67 Rasee agsa7es 233221 8 6.4 32.07 95.48 36.03 i5zB00
5.0 36808 234232 8 6.0
3.0 30.96 36.41 36,91 82792 62752 235 233 «R49 21.42 35,76 36.97 199672
2.7 347440 236 B45 Ti.
38 34.92 37.17 37.79 477560 560352 237 24t PO 2.0 37.12 37.93 38.48 M316944
BO 625833 238 235 8 6.0
8 6.7 31.96 96.48 37.07 134728 695080 239 207 «8 6.0 33.21 96.39 16.88 121376
© 6.0 “FE06R8 240 208 B 6.0
175 113 8 7.0 36.08 26.52 67456 31.04 96.20 36.80 139024 s23ioa 241299 B 6.0 93.26 36.97 37.02 110688
176 180 P1 3.7 ay 82 26.46 37.04 231950 1050064 242 245 Pl 3.0
177 181 P2 3.6 33.98 36.28 36.79 203032 33.90 96.37 36.91 434992 1263096 243 247 P20 3.0 36.10 37.18 37.78 424584
M8198 3 2.8 31.53 36.43 36.57 68556 1331952 Biza b 7.0 :
179177 -B 7.00 31.88 36.90 36.86 62752 9-31.70 38,35 36.92 131608 1394704 245 243 B63 31.94 36.16 36.72 140216
180 178 B 7.0 33.768 36.25 36.80 62696 1457480 246 244 0 6.0
151179 Bo 7.7 34.19 35.89 36.40 61720 © 31.47 38.07 36.60 124416 1519120 247 245 8 O6.7 52.27 36.96 36.89 134744
182 186 P1 4.3 33.19 35.68 36,35 233776 1752886 248 282 Pl 3.5
183 187 P2 4.8 32.90 35.60 36,09 188776 35.04 35.59 36.22 422552 1941672 249 259 P2 4.8 53.99 36.34 36.97 392448
384182 B 8.0 © (30.76 35.61 96,07 62040 2083712 250 243 B70
15 183° 8 8.0 30.99 35.45 38.93 S816 36.87 36.54 36.00 121856 3063538 251 249 A 7.0 41.78 35.78 36.40 129640
186 184 8 8.0 © 30.98 35.45 36.98 57408 2120936 287 250 8 7.0
147 185 8 8.0) 30.71 35.14. 35.72 62080 30.84 36.29 35.85 11948 Z1A30IE 253 251 8B 7.0 92.25 35.77 36.34 116016
18 192 1 2.0 36.33 37.95 38.38 734200 2017980 254 258 PL 3.0 i
189 193 PO 2.0 © 37.69 37.68 38.19 607550 38,96 37.01 38,28 1341760 3524840 285 289 P2 3.0 44,95 36.74 37.33 434640 1979935
190 188 B 8.0) 31.49 36,39 56,90 s6064 a5aen04 256 254 B 5.0 195Bi28
191 189 Bo 8.0 39,99 36.62 96.08 gale 81.84 96.48 36.09 sese7s Sesesis 287 9ce B59 33-727 36.56 37.19 i6I936 ZOGENTE
192 190 B 8.0 39.03 38.6¢97.14 49138 48128 258 266 B 5.0 2112886
193: 19f B 8.0 © 92.33 36.48 36.92 44856 «32.17 36.56 37.03 Dz9K4 92584 299 257 B 6.0 33.42 36.83 S7.i0 125292 2187108
60 264 1 3.2 36.21 37.70 36.30 686744 28, :
261 265 PO 3.8 37.83 37.99 3 38.88 37.74 33.41 137970 4983812 Popple : 9.0000 bits/sec : Results averaged over sequence
262 260 8 5.2 39.82 37.49 2475192 Total : 200 pictures
263 261 b 5.7 33.25 47.06 93.52 37.22 39.79 134984 3540072 2.89 aE
perk go oga oof stow Ss 60288 Sut for chrouinance (Ch). 38.69 dB
ies itt u Kt 3 35. 32.31 37.21 .37.71 191820 311620 SAR for chr ouinance (Cr) 301d dd
163 360 8 705 34.45 36.80 37.50 aa7e4  AuusD4 Coeftictents Y21130312 bits
269 267 B07 32.61 36.41 37.02 1086 56 ‘ cb 055564 bits
$70. 208 0 6d 1otes2 358936 Cr -—-agasa00 bits
271 369 B 6.4 92,60 36.49 37.17 110304 679240 total 34185176 bits
mR 218 8: ti x 854968 Kotlon vectors 7677068 bits
273 377 Fa 4. 4. 18 36, . Overhead 3110884 bits
374272 -B 6.8 - JUTE 36-93 31.04 383818 loves TOTAL 4ag73128 bats
275 713 «2B 6.43 + 32.46 35.96 36.40 40 Wean vslue of Q scale 4.48
216 274-0 6.3 8, 3 1216 13 anee
277275 8 6.7 . 33.47 36.04 36.96 124375 1258272
278.202 FL 4,2 © 33. 1410936 f-picture : 13 pletures
279 283 7205.30 32. 32.86 35.80 36.42 287312 1542584 SAR for lualnaace 36.40 dB
Me 2k 8 6.7 32. 1594040 SAR for chroaiaanee (Cb) 40.26 4B
28,279 8 6.7 82. 32,60 96.00 36.59 101923 1644512 SHR Cor chrowlaance (Cr) 40.38 dB
282 240 f 6.7 32. gaaa3e Seeber of tits
383 au , 7 32. 35.89 36.44 Cocfficlasts 2460045 bits
285 209 PO 4.0 uM. *
286 284 BR 6.7 32. €r 1 b
287 285 B 6.7 42. total 3953168 bits
gi 286 BP 6.7 32. Motion vectors O bits
om 269 287 A 6.7 32. Overhead 52147 bits
190 294 PE 3.8 TOTAL 3905912 bits
C91 295 P20 4.7 Wean value af 0 scale aM
292 290 8 6.7
293 991 8 6.7
294 292 8 6.7 36.65 B-pteture ; 198 pletures
255 293 B 6.7 43 32.55 35.55 96,97 SMA for lustamace 34.34 dB
296 298 Pl 3.2 36,84 283316 b8G068 SHR for chrostnance (Cb) 38. 59 dB
297 799 P2413 is i. ‘8 36.12 2694768 33.96 35.68 36.37 517984 1241736 SHR tos chrosinance (Cr) 38.89 dB
298 296 BoB.3 (38.62 35.92 36.78 65600 1307336 Nuaber of bits
209 997 B 6.6 38,30 95.18 35.64 S408 44.46 395.44 36.05 A29688 127914894 Coefficients Y 9170769 bits .
Cb 3125338 bite
Cr 3604892 bits
total 15900939 bits
Ratlon vectors SORSS99 hide

2091595 bits
239954056 bits

a 5, 6%
Pd-pieture : 13 pletures
R for luminance 35.78 4B
SHR for chrowinance (Cb) 39,98 dB
SHM foe chrominance {Cr} 40,05 4B

Number of dL
' Coe

ts ¥ 1760905

ch 387048

Cer 448079

totel 2616035

Motion vectora 189175

Overhead 138222

‘OTAL 2884432

Mean vatue of Q scale 3

Pt-picture = 38 pictures

SHit for lualnane: 35.51 dB
SHR for che (Cb) 39,61 dB
SHR for chr: fer} 3.74 dit

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LOT

Case 2:10-cv-01823-JLR Document 173-5 Filed 02/03/12 Page 5 of 11

Nuaber of bits . Popple : 9,0000 Kbits/sec : Statistics of each field and fraue
Coafficients 1 4651089 bits x :
Cb 1379132 bits flekd ssatistica Cruse statistics coaulative
Cr 1339432 bits COO INP T Qee —SN- Sk-Cr -T SH-Cb SK-Cr «bits bit count
totei TiSs6ES Bits @ ot tf it 384i a ‘350855
Kotion vectors . S49405 bits 1 1FPO 1,0 39,06 42,88 42.26 395876 38.7% 42,48 41.90 176672 776832
Overhead 395844 bits 2 GPL 2.2 37.35 41.54 41.28 248880. 1or2712
Tore 6114992 bits 3 TPZ 2.5 95,67 40,97 40.08 100440 97,00 41.24 41.07 a9da26 I2IiGd
Nean value of @ scale 4 2 B 4.0 35249 40,82 40.81 111920 1323080
$ 3 B 4,0 35,53 40.64 40.66 119432 35.51 40,73 40.75 239952 L4sZS12
€ 4 B 4,0 38.48 40.90 40.69 (20216 1582728
P2-picture : 34 pictures 2 S$ 0 4,0 35.42 40.50 40.59 110016 35,45 40.60 40.64 230232 8612744
SHR for lusinance 35,00 66 8 12 Pl 2.30 36.71 41.15 41.00 207944 1090684
39, 12 d8 9 12 P2 29 4 169424 «96, $1 40.76 40.74 377368 2050112
aance 33,25 4B ig 8 6 46 ibid ‘ 2158288
Munber of bits Ito 9 f 40 198384 «35,42 40.31 46.39 229528
Coclfichents 1 3067491 bits le Wo og 40 117368
. Cb 723515 bits 3 tl 8 40 107264 «35.41 40.17 40.32 224892 2504872
tr 054368 bits 14 18 Pl 27 139728 2694200
total 4645374 bits 15 19 P2 3,7 144904 35.95 40.17 40.14 336692 2099104
Motlon vectors 1002886 bits 16 14 8 SO 70200 2918304
Overhead AII116 bites 17 15 B 56 870468 34,93 39.36 39.65 166248 3005352
TOTAL G079970 bits 16 16 B AT 964c8: 3291760
Mean vatue ef @ scale aad I9 17 8 40 107248 «= 35.40 39.61 39.79 203656 3249008
20 24 1 id 353128 35s220c
zt 28 Po 2,0 276208 «37.49 41.25 41.00 G29936 3838408
22020 8 47 O1b24 3930012
es 2321 B AT 96566 35.18 99.6) 39.60 JeBIs2 Aozesoe
o 2422 8 4.7 BE7B4 36784
25 2) D 4,0 106632 «35.39 39.88 39.98 203416 «203418
n 26 30 Pl 24 224088 427504
27031 P2 28 178080 «36, 6D 40.7) 40,58 402168 s0SSKE
zB 26 8 4.0 109576 THILO
29 27 8 4.0 1ES816 35.34 40.10 40.24 224992 830576
ye 28 8 4 115032 grsses
128 B 4.0 105760 «95, 25 40,12 40,21 220792 1051368
22038 PLZ 230816 U2e2iad
33°37 P2 2.7 186328 36.73 40.69 40.62 4IT14d 1448532
- ao32 Bb 4.0 104400 §72912
33 8 4.0 113848 95, 31 39,57 39,98 216248 1656760
36 34 0 4.0 114424 WBOLLBA
37 38 0 4.0 106048 95. 27 39,66 40,04 220472 1997232
aa a2 PL 2.0 242880 2150112
39°42: P2 2.3 205392 «97. 02 41.14 40,92 448272 2355504
ao ah BR «a 107008 2462512
45°39 Bb AO 114624 «18,14 99.99 40.09 221632 2577138
42 40 0 4.0 149656. 2690792
43 41 8 O33 119896 55,52 40. iS 40, 22 253552 781686¢
44040 1 at 925832 - 3996584
45 49 PO 2.0 261296 «37,40 41.30 41.05 S8T128 3397880
48 4400 4.0 105552 3503432
a7 48° 0 4.0 114040 95,98 40.35 40,98 219592 3617472
48 46 8 4.0 116688 . 116688
‘ 49 47 0 40 106084 35,43 40.40 40.53 222782 9 2227528
50 54 PL 2.1 238288 451080
51 55 P2 2.7 196552 36.94 41.07 40,96 424340 © 647592
52 50 0 4.0 104976
. 5351 5 48 115566 95. 46 40. 44 40, 46
5452 0 4.0 117760
5S 53 8 4.0 {07872 «9S, 43 40.39 40,42 225692 1094080
58 so Pl 2.2 224876 1318656
57 GL P2 258 189440 16.86 41.15 40,97 Alaene 1503095
so 56 0 4.0 107884 1615960
$9 57 8 4.0 INT912 35.44 40.29 40.29 225776 1733872
60 58 8 4.0 I 117248 1851120
6) 59 0 48 35.40 40.21 40.40 104952 35.39 40.25 40.42 222200 1956072
FL 2.2 36.97 43,39 41.19 224784 2180656 2.2 41.50 223000 1352136
P2 2.9 96.52 40.51 40.51 178344 36.74 40,99 40.84 403128 2359200 3.9 40.81 164512 9 96.75 43,19 41.14 387512 1516648
B 4.0 38.45 40.32 49.38 [08624 2467826 4.0 40.42 116824 1639472
B 4.0 99.39 40, 15-40.29 346664 «35.42 40.25 40.34 225466 2564680 4.0 40,45 121216 39.44 40.16 40.404 238040 1754668
6 4.0 35.41 40.35 40.43 I1asad 2689272 4.0 40.57 120224 1874912
@ 4.0 35,43 40.15 40,27 103952 35.42 40.25 40.35 218596 2a03ze4 3.3 40.69 133136 95.73 40.29 40.53 253360 e0080ds
1 2.3 37.08 40.90 40.80 314668 3117976 2.2 41.44 218600 2226648
Pog. 57 41.2 33,28 41.22 41,03 834080 3977366 2.5 740,95 i6tddd  Gé.G1 i. Be0sie 3358088
8 4.0 3485672 ao 40.55 11SS04 2503592
8 4.0 38.42 40.49 40.68 223560 3600928 4.0 40.58 126392 35.44 40.12 40.56 245896 2629984
8 4.0 115368 4.9 40.61 122392 2752376
A 4.0 35.37 40.54 40.69 221400 221400 4.0 40.63 2111488 35.52 40.23 40.62 233880 2863864
PL 2.3 447912 2.1 ALS 207872 : 2151800
P2 2.9 36.75 40.57 40.7) 402960 624360 2.9 41,89 198456 = 37.42 41,75 41.59 486328 3390256
8 4.0 TIE 44 7 40.77 124088 . 3473 4s
8 4.0 35.41 40.30 40.49 221260 04564 9 40.77 120184 35.02 40,47 40.77 244272 3594528
a 4.0 958488 40 40.81 858 123886
6 4.8 35,36 46.22 49.43 218248 1983886 22 $2 $26a4e 38.88 49.278 40.96 seers = eseses
PL 2.2 1292048 2.3 . 6S senda
F2 2.7 36.72 40.74 40.79 410968 1474804 2.8 26 369032 gt 728
4.0 1578088 3 AT 133704
6 4.0 35.41 40.02 40.32 213400 16aez64 4.0 9s 230512 «852240
A 4.0 1797440 40 . OL 973248
6 4,9 35.30 39.95 40.27 212120 1900384 3.0 26 246200 =F10D440
Fl 2.1 2137536 2.2 . 87 4323664
P20 2.4 36.93 40.79 40.14 432272 2332656 2.5 56 3785381478976
6 4.0 2435128 3.9 2 1899656
go 40 38.38 29.94 40.22 219812 2548168 MT of zaqoea 1723040
6 4.0 2657392 33 7 1853288
6 3.0 95.71 40.02 40.26 241272 2787440 2a $ 139920 26.75 41.68 41.96 262568 1965608
6 i 2.5 3105256 ig 3 2225872
Fo 2.0 37.25 $1.05 40.88 $85320 3372824 2.9 9 49936 97,08 42,95 41,77 376824 2362432
B 4.0 3476976 3.0 6 1g31T6 2485608
o 4.0 35.41 60.19 40.40 216392 3569216 3.9 4199928 36.68 41.63 41.26 256504 2415996
B 4.0 112880 43 .30 135360 2151296
B 4.0 35.45 40.27 40.46 216552 216552 a3 427 119928 36.56 41,56 41,28 254688 2673624
FL 2.2 450144 2.3 4168 232040 3106528
P2 2.6 36.84 40,96 40,88 420214 636768 2.0 42.37 187080 37.49 42,34 42.01 420720
100 b 4.0 TAzAZ4 43 so 126176 3
101 B 4.0 35.40 40.30 40.39 217974 © 8S4T4A 4.0 02 434800 36.60 41,37 41.18 26097 3555304
1a 8 4.0 ecares aa Salat ayes 140702
103 6 4.0 35.36 40.19 40.40 213344 1066066 2.0 49 10RE =§—36,81 41.58 41.30 265632 © 285622
led PL o2t 1301536 2.4 4 217904 483016
165 Fa 2.4 36.91 40.54 40.86 431680 1499768 34 222 U494G8 16.99 41.77 452 360832 © 625454
106 8 4.0 1612982 2.0 .47 193584 760048
10T @ 4.0 35.22 38,99 40.19 231168 1730936 4.0 15 199328 36.67 41.48 4131 270912 897376
108 6 4.0 185340 40 18 141ize 1038504
tos 84.0 35.28 39.97 40.18 235856 1966792 3 46 LDIS2O 3G. G7 46.53 41.33 272648 1170024
10 Pi Z.3 2185136 2.5 55 Bisse 3383215
mw FZ 3.0 36.56 40.59 40.55 395000 2361752 2.9 40,67 136520 36.57 41.16 41.99 249712 1519736
12a Ro ao 2479156 4.0 78 118216 1634982
13 Bb 4.0 35.28 99.04 40.04 238760 2597552 4.7 39 124376 38.15 40.55 40.58 239592 1759328
1} 8 4.0 2716816 4.7 47 127144 1966472
at B 4.0 35.25 34.95 60.12 290860 2829712 4.0 120832 36.15 40.52 40.60 247976 2007305
a tr Ze 3118952 2.5 4130 291528 2238832
i fo 3.0 38.62 80.54 40,50 47144 3299224 4.0 40.40 154504 36,35 40.75 49,06 355092 2999399
ul B 4.0 3415568 4.0 40.68 129284 2522800
118 a ao 35.33 40.28 40.29 738860 3538104 5.0 40,18 195768 35.90 40.19 40.48 265032 2658968
tro ie oR 4.0 122768 5.0 .
zi a 4.0 95,39 40.41 40.45 22084e 2298468 4.7 38.70 40.11 40.23 258360
1 1 454808 2.6
i 2 3 46. 1638.97 36.97 40.87 40285¢ 632504 32 38.58 49.94
t dD 4. 35.39 40.99 40.46 11599: 140496 $.0
t a4 38.3 39.98 40.17 130608 36.36 40.15 40.31 248808 aTO10A 5.3 35,29 39.65 39.87 277304
! B 35.37 40.26 40.44 126872 ionso7e 3 .
1 35.393 40,04 40.268 123160 95,95 40,15 40.95 250032 1129106 5.0 2339.65 17-99 820216 95,19 99.54 99,87 2Ts0G4 «6279084

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601

198 P] Cases 42-

4.

199 P2 4.9 94.66
1948 $7) 3473
195 3B 6.9 3449
(968 B 7D 3406
lor BD 6.0, 54,59
goa Pl 4.8 3

208 P2 5.8

200-8 7.7

201 B 8.0

202 8 8.0

203 8 7.0

tio PE S.0

311 P2 5.9

206 BOT

207 BOD

20, A O.0

208 B 8.8 3944
1B Tot 1847
247 PO 3.00 35.7)
Big 9 8.8 (93.28
213° BO 9.8) 34,85
2148 9.6 33.06
215 B 8.6 33.88
e22 PL S.30 441
22272 6.3 33.91
21a B 8 oad
219 8B 9.0 32,00
220 8 90 33.11
221 B 8.0 33,64
228 Pl 5.30 34,55
228 Pz 6.5 | (14, 00
2243 6.6 (33,98
225 8 9.0 JS
228 8 0.0 33,30
227 8 a0 32.78
24 FL 6.1 3410
235 P2 710 33.62
230 8 8&7 33,35
231 8 29 Ines
232 8B 9.3) (33.34
2338 8.00 33.48
240 1 4.0 35,72
cal PO 4.0 34.06
23608 8.9 833,18
237 B60 3271
238 B 9.9 33.02
239 8 8.0 33,55
246 PL 8.7 0 33.39
247 P2 78 IAT
243 B100 J298
24) Bio 32,08
46 BLO R13
245 B00 324d
252 Pi 6.0 833,66
853 P2 6.6 33.20
348 8 90) 3849
B46 F166 0 5R67
2s0 (8B 3 3h
ts! BAT 3270
258 Pt $8 33.82
259 P2 7.6 | 32.88
2548 97 12.24
255 B18 32,19
256 B 10.8 34.32
287 B 9.0 32, 66

39,20
39,25
38.78

30.53
4.65
30,12

18.41 38.83
36,89

36.14
36.82 37,00

GygN1823- SLR Dagymentad P75 1 Filed O20 alh2 Page 6 Of Tadsan

154375 38.47
¥22424
3405840 (34.55 39.01
134182
122763 -34,32 38. 64
34.48 38, 64
33,50 37. 84
33. 88 37.75
M420 38.14
33.21°37.38
119816 (33.18 37. 1¢
322360
222216 = 36, 07 40. 07
125016
139008 = «33.06 37, 22
135058
117084) = 33.31 37,30
104840
142044 34.18 38.01
124704
40920 = 33. 22 37. 24
137889
11895200 -32.37 37.11
ige7a2
138640 34, 26 37. 87
190318
142640) = 90, 36 36. 90
140 hte
122408 = 33.53 38.93
175096
130232 93.85 37, 62
118360
$3328¢ 0-33.22 36.59
136128
110488 = 39. 42:36. Sa
308112
217698 = (35.34 39.33
125338
141224 0-32.92 36.58
141692
125432 39. 28 36. 84
161936
1aaca
113486
2130048 = (32,23 36.17
132064

130032
W4i555 | 52.24 36,24
1440de
124560) 0 -32.$7 36.38
197520
031958) -33, 32 97.35
117408
1425840 -92.22 36, 20
199792
121600 0-32.50 36.33

7. Variabie length code tables

39.60 357848
263008

236920

39,38
39.06
39.02 347000
34,15 249328
34.25
34

31.57

286496
345648
259808
37.49 245036
40.39
37.45
37, 88
34.46
37.72
37, 6B
348,30
31,44
37,49
31.92

344576
264024
252144
337784
265624
256832
331432
273016

266560
141672
267100
449040

207104

243544
246178
341168
2 271566
2saT0e
3%, 59
36,56
36.77

329472
259902
261302

2TB9464

This section contains the variable length code tables for macroblock addressing,
macroblock type, macroblock patiem, motion vectors, and DCT coefficients.

7.1 Macroblock

addressing

Table 7-1. Variable length codes for macroblock_sddress_increment.

macroblock_address_ | increment macroblock_address_ | increment
increment VLC nde _| value increment VLC ends | value
eR EI
1 1 00000101 10 17
Oil 2 00000101 O1 18
010 3 00000101 00 19
oon 4 BOOS SSS 25 a
0010 3 00000100 10 al
00011 6 00000100 O11 22
$001 0 7 00000100 O10 23
0000 111 8 0000 0100 G01 4 .
0000 11D 9 0600 0100 000 25
0000 1011 10 0000 0011 111 6
0000 1010 ll 0000 0011110 2
$000 1001 2 00000011 101 2
0000 1000 13 0000 0011 100 29
0000 0311 4 0000 0011 O11 30
0000 0110 15 0000 0011010 VW
0000 0101 33 16 0000 0011 001 32
000 O01 G00 33
0000 0001 111 macroblock_stulfing
0A Ann) AAA eR
wet ck escape

1265

Po’ 32. 02 37,14 3 140702 33.52 37.62 37,91 396264 3195T92
8 3249 38081 aha 332370
a ee 32. 19 36, 25 34, 49 32,34 36.36 36.65 764256 3480048
210.5 92.23 36.05 39.59 132864
0 7.7 33.39 36. 98 97. §3 32,77 36,48 37.00 279856 279856

PL 9 33.03 97.17 37.27 ASIA

PZ 8.2 98,27 96.64 38.88 32.63 31,01 3123176 597032
B 9.3 32532 38. 21 34.87 _ oe
8110 31.75 YS. 14 35. 99 432,603 36.27 25
211.0 31.68 35. 61 35. 3
B 8.7 32.74 38.51 38.93 32.18 36.40 281432

PL 79 | 32,45 38. $6 35.76

P2 7.9 32.48 36.78 35. 96 3247 36.86 128136
B 10,3 31.85 35.81 38 11
D128 31.40 38. 45 35. 66 31.62 35.80 249768
DENe 31147 35, 28 35. 63
0°97 32.25 35.9) 38. 40 aat 36.00 245064

PI 7,3 33,03 36. 80 31, 22

Pz 8.6 32.92 36.95 39.09 95 z jaz
810.9 31.92 35.78 38. 28 2387120

.EILS 31,64 95.44 35. 83 31, 7B 35.61 36.05 246288 2496120
B11.0 31.97 35. $0 35.65 26278SE
8 9,7 92.59 96.05 38.48 92,24 35.78 36.20 251286 2717376
1 @@ 33,32 37/92 39.65 2981178
PO 10.0 31.79 35.94 38.38 32.49 36.5% 36.67 349980 JONTI20
B10,3 31101 35.83 38. 28 3219856
812.0 31.68 35.50 35.98 3.79 35.66 36.19 25e¢aa 3353608
P1032. 18 35. 89 3H. 94 ac ui is ay ue sq 7esase 136200
ao8T 32.45 36-11 38. 6F 32,31 55,87 36.50 255036 233030
PL 6.9 33.18 37.09 37.45 474i
Foo 77 3%, €4 36.68 37, 12 32.90 96.05 37.26 333202 = Sasoes
B93 32.18 36.08 35.55 723008
B11,0 31,88 35,81 35.97 31,02 35.8) 36.25 266672 853760
BOid.5 32.01 95. 68 35.25 Bd6608
B 8.7 32. 80 36.34 36.96 32,30 36,00 36,58 287448 1811208
Pi 6.7 33.18 36.99 37.97 a 1320960
PL 7.4 32.89 96. 70 37.24 39.03 36.81 37.30 350896 1482104
BOBS 32.45 36.47 38.87 1800152
8 8.5 (39°45 36.97 38. 88 32.45 98.42 36.01 IRT178 Y7zaRAD

7.2 Macroblock type

Table 7-22. Variable length codes for macroblock type in intra-coded pictures (-
pictures),

x»
VLC code macroblock_quant
1 370
ot 1
NOTE - intra = i, K_paticm = 6, macrobiock_motion_forward =

0, macroblock motion_backward = 0

Table 7-2b. Variable length codes for block_type in predicti
and P-pictures).

VLC code 1 i

quant motion forward | pattern intra
1 o 1 1 0
Oo 0 1 0 0
001 0 0 1 0
COOL! 0 0 0 1
COO10 1 1 1 4
00001 1 0 1 6
00001 1 o 0 1
NOTE - macroblock motion_backward = 0
Table 7-2c, Variable length codes for block_type in bi-directionally predict!
coded pictures (P2- and B-pictures).
VLC code block Slack. Tmacrohloc Flack hick

quant motion_ inca

forward backward
mamas

10 0 1 1 o 0
H 0 1 1 1 0
O10 0 0 1 0 0
oll 0 0 1 1 6
0010 0 1 0 o 6
oOll oO 1 a 1 8
00011 o 6 0 D 1
00010 1 L 1 1 9
00011 1 1 0 1 Q
00010 o l 1 0
000001 1 0 0 o 1

Table 7-24, Variable length codes for macroblock type in de Intre-coded picuucs (D-

pictures).

MS-MOTO_752_0001230378
MS-MOTO_1823_00000720898
Ort

Tit

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VLC code macroblock_quant
I 0
NOTE - intra = | block_pattemn = 0, block_motion_forward = ~

O creer Ne abe cece Bt
6, macrebioae_moton_backward 30

7.3  Macroblock pattern

Table 7-3, Variable length codes for cadod_block_pattern.

coded_block pattern coded block pattern
VIC code chp VLC code cbp
1 000100 6
0 2 00001 1 9
1] 000010 10
10 4 DOO00LI 3
001] 3 10 5
GGG is DOOU0GT 7
00011 2 D0000001 W
000101 1

Table 7-4b. Variable lengih codes for motion_horizontal_forward,
gmotion_vertical_ forward, motion_horizontal_backward, and motion_vertical_backward
when forward_f or backward_f is 2,

motion lite big
VLC code

b=0 bel [b=! b=#O
(OTE)

0000 0011 001 b ff -31 32
0000 O01! O11b F -29 -30
00000011 101 b | -27 28
COCO 1b | -25 -26
0000 0500 001 b | -23 24
00000100 011 b |] -21 -22

32

34

x%

38

40

42
00000100 11> || -19 -20 4 45
0000010101 b |) -17 1B 46 a7
QOOVGIO! 1b ff -15 16 48 49
0000 O111 6 13 “H a 51
0000 1001 5° “ll 2 52 33
0000 1011 b 9 10 MM 55
0000 111 b 7 a 56 ST
001 1b 5 6 58 5o
O0t1b 3 4 a 61
Orb + 2 & 63
t 0
0106 1 2 ~62 63
0010b 3 4 ~60 61
0001 0b 5 6 ~58 59
WOO0 110d 7 3% 36 at
0000 1010 b 9 10 ~54 55

000 1000 b it i2 SZ 33
0000 O110 b 13 14 50S
GOOD G10L 10b | 15 16 AB a9
00000101 00 b |] 17 18 46 a7
00000100 10b {19 20 44 AS
0000.0100 010 b |] 21 22 420 «43
GO00 O100 000 b E25 24 40 41
0000 0011 110 § 25 26 "38 0-39
0000 0011 100 4 27 28 3600 3
0000 0011 010b | 29 30 “4 -35
0000 0011 000 b F 3! NA_| NA _-33

N/A- These table entrics are not used and should not be generated by an encoder.
-NOTE- For VLC code 1, no > extension bit follows.

1.4 Motion vectors

Tab 7.

tae

codes
codes for

Table 7 io length

motion_vertical, forward, mow on_hori hori izon'

when forward_f or backward_fis 1
motoa
VLC code Unite | tig
0000 6011 O01 F -16 6
0000 0011 O11 f--15 17
0000 0011 101 [-14 B
0000 0011 112 7-13 19
0000 0160 001 f -12 20
0000 6100 011 7-11 21
0000010011 [+10 2
0000 010101 5-9 23
00000210111 1-8 2
0000 0111 7 25
0000 1001 6 26
0000 1081 5 27
0000 111 4 28
00011 3 2
OO1L 2 30
oll -i 31
1 a
310 1
0010 2 30
o001 0 3 “29
0000 110 4 -28
0000 1010 5 -27
0000 1000 6 -26
0000 0110 7 25
0000020110 18 -24
00000101 00 19 23
o0ng.0100. 10 «bo -22
0000 0100010 | IL -21
0000 0100 000 | 12 -20
goon cor 110 Jaa] -19
0000 0011 100 f 14 +18
00000011 010 7 15 -l7

11000 i

Table 7-de. Varisble lIength codes
motion_vertical_forward, mation_horizontal_backward, and motlon_vertical_backward

motion _darizonial_torward,

backward, and motion_vestica!_ backward

for motion_horizontal_farward,

when forward_f or backward_f is 3.
motion Little big
VLC code
‘ bbe bb= = = bb= bb=
NOTES oi tr net
| cme
0000 0011 O01 bh | -46 -47 AB 48 49 50
0600 0011 OL bb |] -43 44 AS 51 52 33
0000 0011 201 bb || 40 oAl A? a4 5S 56
0000 0011 111 bb || -37 38 39 3 38 x»
0000 0100 G01 bb || -34 “35 46 6 61 62
0000 0100 O11 bb |] -31 32 33 63 64 65
00000100 11 bb || -28 -29 30 66 67 68
0000 0101 OL bb |] -25 -26 27 69 10 11
OOOO DIOL ILob | -22 -23 24 2 73 74
0000 0111 bb -19 -20 21 7 1 7
0000 1001 bb -16 -17 18 7B 9 80
0000 1011 bb 3 14 “AS $1 82 33
0000 111 bb -10 ‘lH AZ 84 a5 36
0001 | bb 7 8 > 87 8a ao
-4 $ 46 90 n 92
-1 -2 3 93 94 93
QO
1 2 3 -93 94 95
4 5 6 -90 91 ~92
7 & 9 ~%7 -B8 89
id ii iz 34 55 -B6
13 14 is ~81 ~82 ~B3
G00 1000 be i6 i7 i8 -78 73 -86
0000 0110 bb 19 20 a 15 16 1
00000101 10bb | 22 23 24 72 73 14
0000 O10! OO bb | 25 26 27 69 -10 71
0000 0100 10 bb | 28 29 w» -66 67 -68
0000 0100 O10 bb | 31 32 3 63 4 -68
GGG D106 GOO db 4 54 35 36 ~~ i ~é2
COO0 OGLE HIG bb || 37 38 39 -57 58 59
GOOG 0011 TOO bb 1 46 4i a 54 55 56
0000 0011 O10 bb | 43 44 45 +51 52 -53
00000011 COO bb |] 46 7 NA N/A 4 50

N/A - These sable entries are not used and should not be generated by an encoder.
NOTE- For VLC code 1, no bb extension bit follows. One ar two extension bis follows

se UES oo tow at ot te
ihe VLC as inuicaicd in ihe ieauing,

MS-MOTO_752_0001230379

MS-MOTO_1823_00000720899
Z1t

elt

Table {AS Guidi LO ee Vado) 18 Jiri bok oat GU mM € n t 1 73 ~ Snot Hed 02/0 3/12 P age 8 ofi1

motion_vertical_forward, moiion_horizontal_backward, and motion_vertical_backward motion_vertical_forward, motion_horizontal_backwani, und motion_vertical_backward
when forward_f or backward_f is 4, when forward_f or backward_fis 5,
motion Tals big motion liale hig __}
VLC code VLC code bbb bbb bbb bbb bbb | bbb bbb bbb tbh bbb |
bb = bb= th» [bbe bbe boo bbe 4 = = = = &« ls = & & @&
(NOTE) oo oi id ii qi 10 01 00 OTE) Oo Ol 1010s | it = 110-10 ts
0000 0011 001 bb | -6r 62 -63 +64 64 65 66 a 00000011001 bbb] -76  -77 -78 «-79 «-80 |80 81 82 83 84
0000 0011 O11 bb fF -57 -58 5 ~60 68 69 70 aM OOQOD011 O11 bbb] -71 -72) -73 74-75: 185 «86878
0000 6011 101 bb | -53 54 +55 56 2 7 74 1 00000011 101 bbb] -66 -67 -68 -~69 -70/90 91 92 93 94
0000 OOL! 111 bb | 49 -50 -SI -52 76 7 78 79 OOOO HIbbby G1 -62 63 64 KS 955967
0000 6100 001 bb | 45 46 47 48 80 al 82 $3 0000 0300 001 bbb] -56  -57) +5859 +60 $100 «101102103104
0000 0100011 bb 41 42 43 44 a4 85 36 a7 OG OTOL bobby Si -5Z 53-54-55 | 105 106 «107-108-109
6000 010011 bb | -37 -38 39 0 88 39 $0- 91 00000100 11 bhb [-46 -47 43 49 -50 J 110 111 112 213° 116
0000 010101 bb ff -33 i 35 -36 92 93 $4 95 0000010101 bbb f-41 -42 430-4445 US G17 a8
0000 0101 11 bb Ff -29 30 31 -32 96 9 98 99 OOOO OIC Ebb [-36  -37 -38-39- 40 $120 121, 122-123 128
0000 0111 bb 25 -26 -27 -28 100 101 102 103 0000 0121 bbb “AL 320-33 34-35-1125 126 «127 128129
0000 1001 bb -2l “22 +23 14 104 105 106 107 0000 1001 bbb 260-270-2829) -30.:«4 13013132 «1333394
0000 1011 bb -l7 18 “19 -20 108 109 no it 0000 1011 bbb i223 2A 25-4135 136 1378139
0000 111 bb “13 4 15 -16 112 113 14 NS 0000 112 bbb “16-17-18 -19 -20: | 140 141 142143144
0001 1 bb + +10 - -12 6 WN? mg ie O0Gi i Dbd Ab -120 +13 --10 -15 | 145) 146147148149
OOL2 bb 3 6 7 8 120 12 122 123 0011 bbb -6 7 B 9 -10 | 150 1St 152 153° 154
OLL bb -l 2 3 “4 126 125 126 127 O11 bbb el 2 +3 4S 1 155) 156 157158189
1 0 1 0
O10 bb 1 2 3 4 012400 6125-126 127 O10 bbb 1 2 3 4 3 “153 156-157-158 «159
OO10 bb 3 6 7 & “1200-121 122-129 . 0010 bbb 6 7 g 9 10 | -I50 -181 -152 -153 -154
000! Obb 9 10 i 12 “1G +117 118-9 001 0 bb ii 2 1314S 145-146-147 148-149
0000 110 bb 3 14 Ss 16 “A120 +413 114-85 0000 110 bbb 16017) 1B 9-2 1D 14 142-143-144
0000 1010 bb 17 18 19 20 308-109 10 eT} 0600 1016 bbd Zit SHS BS 196-137-1398 -159
0000 1000 bb 21 22 23 24 “104-105-106 -107 0000 1000 bbb 260 27) B29 30 | 230-132-132 -133 134
0000 0110 bb 25 6 a 28 100-101-102 -103 0000 0110 bbb 31032033 34 BS 42S 126-127-128 -129
0000 O101 10 bb | 29 3% 31 32 96 97 98 » GO0O01OT1Obbb [36 «6937 «398 99 4s 120-122-122 -123 124
0000 0101 00 bb | 33 x 35 36 -92 ~93 94 DS OOoddLOLOObbh F41 42 430 44 AS ANS 16-117 218-119
0000 010010 bb | 37 33 39 40 88 -89 -50 1 OOOO C100 FO bbb 46 47) 48D 50-110 a -112 112-114
0000 0100 010 bb | 41 42 43 aq ad 83 AG 37 OO0O G10 O10 bbb FST «52530 Sd SS |-10S -106 -107 -108 -109
0000 0100 000 bb | 45 46 47 48 ~60 81 BZ 83 00000100000 bbb 56 57) 58) 59) 60 | -100 -101 ~102 -103 -104
0000 0011 110 bd 1 49 50 5 92 6 F778. GOOG OO11 110 bbb 61 «62 63, «GES 1-95) 96-97-98 -99
0000 0011 100 bh | 53 54 55 56 72 -73 74 +15 00000011100 bbb 6S 6768 70 | Ot 92-93-94
0000 6011 010 bb | 57 58 59 60 -68 69 70 a" 00000011010 bbbA71 72 «739 74 «75 [85 86-87 -88  -29
0000 0011 000 bb f 61 62 §3 N/A N/A ___-65 66 67 , 00000011 000 bbb 1767778 79 NAT N/A 81-82-83 «84

nsioa bit follows, NOTE- For VLC code 3, no bbb extension bit follows. Two or three extension bits
. follows the VLC as indicated in the heading.

N/A - These tableentrics arc not u
NOTE. For VLC code 1, no

sed and should not be generated by an encoder, N/A - Thess table entries are not used and should not be generated hy an enonder,

Table 7-4f. Variable length codes for mation_horizontal_forward, Table 7-4g. Variabic tength codes for dmv_horizontal_foeward, dmv_vertical_forward,
motion_ventical_forvard, motion_horizontal_backward, and motion_vertical_backward dmv_horizomal_ backward and dmv_vertical_backward.
when forward_f or backward_fis 6,
deny_hori: /vertical_forw: dmv value
motion Title big VLC code
VLC code bbb bbb bbb bbb bbb bub] bbb bbb bbb bbb bob bbb 0
= zp = = -_ = = = = = = Oo 1 1

(NOTE) Oo Ol 10010080 ttt 110 10k 100 to 1 a
0000 0011 001 bbb] -91 -92 -93 -94 -95 96196 97 98 99 100 101
GOOG ODL OL bbb] -25 -26 87-88-89 90 102 103 104 105 106 107
0000 0011101 bby -79 -80 -8f -B2 -83 -84/ 108 109 110 {11 112 413 7.8 DCT coefficients
OOOO COM MLL EbDY-73 -74 75-76-77 78 | a IS 6 a?sB 119
0000 0100 001 bbb]-67 -68 -69 -70 -21 -72| 120 121 122 123 124 195 Table 7-5a, Variable iength codes for det_de_stze_luminance.
00000100011 bbb] -61 -62 63 -64 -65 -66/ 126 127 128 129 130 131

Hbbb f-55 -56 -S7 -58 -59 -60| 132 133 134 135 136 137 WE code Gci_de tice luminance

Gi bbb P49 -50 51-52-53 54. [138 139 140 141 142 143 100 . =
OOOO GIGI IT bbb 43-46 45 46 -47 484144 145 146 147 4B 149 wu 1
0000 Gi ii bbb “S) +38 39-40-41 42} 150 151 152 153 184 155 a1 2
0000 1001 bbb 31-32-33 -34--35 36] 156 «157 «158 159 160 161 101 3
0000 1011 bbb 25-26 -27 -28 -29 -30 | 162 663 164 165 166 167 10 4
0000 11 bbb 19-20-21 -22 -23 24.) 168 169 170 O71 172 «173 10 5
0001 1 bbb AB 14-18 16-17-18 | 174195 176177198179 11110 é
0011 bbb J -B +9 10-11-12 | 180181182 83k iitiio 7
Gil bbb Eo -2 0 3-4-5 HF 8G 187 188 18D 190 19) Itite 8
1 8
G10 bbb i 2 3 4 $ 6 | -186 -187 -188 -189 -190 -191
0030 bbb 7 8 9 10 IL 12 1-180-181-1982 -183 184-185 .
0001 Obbb 1314 15-16 TB S| 194-175-196 «197-178-179 Table 7-50. ‘Variable lenglh codes for det_de_size, chrominance.
0000 116 bib 9 20 210 220 230 24 | 168 -169 0170-19) 172-173 - -
0000 1010bbb «25 26-27-2829 40: | -162 -163. 164-165 166 167 jatlC code I dct ce, size_chrominance |
0000 1000 bbb St 32 33) 34 S96 | -186 -157 -158 -159 ~160 -161 oo 0
000 01 10 bbb 370 3B 39 40 di 42 -1SU 151-152-153 154-155 ol I
GOOD DIOL bbb 743 44 4S 46 47 48d 14g -145 146-147 2148-109 to 2
OOo eer oobbs 149 5G SE 5253) 54] -138 139-140-141 -142 6143 Ha 3
0000010010 bbb |] 55 56 57) S859) «6 | -132 133-134-135 -196 137 1110 4
0000 0100010bbb} 61 62 63 64 65 66 |-126 -127 -128 -129 -130 -141 {1110 5
6000 0100000 bbb] 67 68 69 «70-71-72 «J +190 121 122-123-124 -125 VALtO 6
00000011 NObbb] 73° 74 «75° 76-7778 | -114 -1IS. -116 117-118-119 M10 7
DODO OOL1 1NObbb] 79 -8O B81 82 83 84 | -108 109-110-121 112-113 111110 8
OOO HOOT 8S 86 BF 8B BF «TG | 102 -103 -104 -105 106 -107
2000 0611000 bbb} 9192 939495 NAL N/A -97_-98 99-100 -101

N/A - These table entrics are not used and should not be generated by an encoder,
NOTE- For VLC code 1, no bbb extension dit follows. Two or three extension bits
follows the VLC 2¢ indicated in the heading,

MS-MOTO_752_0001230380
MS-MOTO_1823_00000720900
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Table 7-Se. Variable length codes for det_coeff_first.

‘Table 7-54, Variable length codes for det_ooeff._first.

iE

0010000
OOO1ILIs
GOO1110s
D001101s
00011001s
000110003

AKSS> FM SVK COO MN NOAM AR OWN OCR ofa

DOOOITHILs
NODOIT IOs

OOOOIT 101s

Od

KR PRR NPN NN ACRE RE NNN UNDE RE NUE ee Nee eee

LNOTE «The last bit's' denotes the tign of the level. ‘0 for positive. ‘1' for negative.

Table 7-Se. Variable length codes for dot_coeff_first.

dct_cocif_first variable
length code (NOTE) nun level
OOOOLOL Ns 18 L
0000101105 19 1
OOOD1010ls + 24 1
0000101005 32 1
ODCO1NGIIIs 0 10
0000100110 0 i
00001001015 0 12
00001001003 1 5
000010001 1s 2 3
00001000103 15 1
00001000015 16 2
00001900003 20 1
OOOO TAs 21 1
00000111 10s 2 1
OO0001 11014 25 1
000001 1100s 7 !
OOO001 1081s 35 l
0000011020s 40 L
000001100is 41 1
00000110003 43 i
QOQOOIOT Its 4 1
0000010110 escape
000001010113 a 13
00000101010s 0 14
0000010100!s 0 15
00000101000s Ll 6
0000010011 is 2 4
000001001 10s 3 3
00000100101 4 3
00000100100s 5 3
00000 10001 3s 10 z
00000100010: W 2
00000 100001s 12 2.
00000 100000s 3 1
O000ONL T1113 24 2
00000011 110s 26 1
0000001 1101s 27 1
}

det_coeff_first variable
length code (NOTE) run level
00000011 011s 32 2
4 1
36 I
40 2
000000101113 42 1
000000101 10s 48 1
000000101011s Q 6
000000101010s 0 7
000000101001s 0 18
CNG 101000s, i 7
0000001001 21s 6 3
SOOOIOI ibs a 3
000000100101s 3 2
600000100100 4 2
0000001000115 15 2
000000100010s Yn 2
0000001000015 18 2
CCRT I RAR iF z
00000001 1111s 20 2
OOOO ids 2 i
00000001 1101s 30 1
00000001 1100s 31 t
00000001101 1s 37 1
OO0d000T 1010s 39 1
0000000110015 43 2
OOQCOCEE 1200s 44 z
000000010811 49 1
0000000101105 50 i
}00GN000 10101 i 1
(0000000101001s ‘oO v
0000000101000 0 20
00000001001 Lis 0 21
00000002001 10s 0 22
DOOCHOO OST s iS a
0000000 1001 00s 1 8
OOOO O0C Ls 2 5
0000000100010s 3 4
00000091 000015 4 4

_ LNOTE - The last bit's' denotes the ign of the level, ‘0 for positive, ‘1! for negative.

Table 7-SE, Variable tength codes for det_coeff_first.

det coctf_first variable
length code (NOTE)

a

000000000011011s

“NEN NE NNN NN NNW Al

LNOTE - The last bit's' denotes the sign of the level, ‘0! for positive, ‘I’ for negative. -

MS-MOTO_752_0001230381
MS-MOTO_1823_00000720901
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Table 7-52. Variable length codes for dct_coeff_first.

dct_cocff_next variable level
dexcoctl_first variable evel [ length code (NOTE) an r
length code m0, = Ols a 2
DOOMOOION! 1010s 0 2 001s o 1
00000000001 2001 s 0 % 100s ‘ 1 1
ponene9een! 1000: ! -* 1010s 2 3
COOOKOOOOOIG! 11s 2 7 1011s 0 i
0000000000101 103 4 3 1OLIts o 2
0000000000101015 10 3 11000s ! 1
0070000001 0100s 29 2 110013 3 5
(00000000001 001 1s 30 z 110200s 9 1
000000000010010s 32 3 1101018 4 1
1000000000010001's 33 ! 111105 : i
GOOTOGONOTI G06 x t HOLL
QQQUDOQCQOTLELs 36 ! 1110000s 9 ;
00000000G0011101s 0 4 11100015 1 2
0000000000015 100s 0 3 11100103 2 2
000000000001101 1s 0 36 11100115 3 ;
.0000000000011016s 0 7 11101005 ; 7
00000000000 1100is a 3 11101010s o e
0000000000011000s Q 39 i1i010iis a 4
00000000000 101 i is 6 a 11101100s 1 2
(00000000000 101 16s 1 R 111011018 4 3
0000000000010101s 1 3 11101 110s 5 ;
6000000000010100s 1 M LOLI te 6 i
(0000100000001001 1s 3 6 11110000s 8 i
000000000001001 0s 5 $ t111000ts 3 i
Oorcoaneta 5id0is 7 4 11110010s 0 5
0000000000010000s 8 5 HLNOOLIOs 6 10
0000000000001 1s 5 4 1111001 Lis 0 n
0000000000001110s ul 3 111101000s 0 5
00000000000011015 2 3 111101001s 1 3
0000000000001 100s 15 3 1111010103 2 3
000000000000101 1s i 2 1111010115 3 3
1000000000000 10103 7 2 LIG1100s 7 1
0000000000001001s 8 2 111101101s u i
(000000000000 10003 9 3 iit iOtii0s @ 1
0000000000000: 40 UWI1OU Ms = —
0000000000000 3 3 [NOTE - The last bit's’ denotes the sign of the level, for positive, I" for negative. |
00000000000001018 45 2
£0000000000000100s so a
000000000000001 1s 5s '
{00006000000000103, 37 SCI ramos Gor epee
[NOTE - The last bit 's denotes the sign of the level, ‘0 for positive, "I! for negative. |
Table 7-Si. Variable length codes for det_cocff_next. ‘Table 7-5). Variable length codes foe det_coeff_next.
dct_coeff_next variable d&i_cocif_next vanabie
engin code (NOTE) ~ fine level Isngth cods (NOTE) tun level
THT 100005 i 1 THIHOT IL 10s 12 2
11111000105 0 12 IMNTOIII 11s 13 2
1111100015 0 13 1111111000008, 4 2
11111001003 0 14 1111111000015 2h 1
11111001015 1 6 H1111 1000108 2 1
11111001105 2 4 TELLILSOOO1Is 24 i
LI LLOOLLIs 4 3 LIETIL100100s 25 I
11111010008 a 2 UTI 1100101s 6 i
11112010013 14 1 1111112001105 31 1
11111010105 16 I 11111116011105 0 xu
1112101012 escape HITT 100111 1s 0 2
1111101100Cs 0 15 1111111010000s 0 23
I1111011001 0 6 1191811010001s 0 24
111110120108 0 17 1111111010010 0 25
101110110213 1 ? N1IVI11101001 15 I H
11111011 100 1 8 1111111010100s 1 12
111110111015 2 5 1111110101015 2 7
TELEIONLLIOs 3 4 £111111010110s 3 6
THLLIOIRILs 3 3 LELUI1IO1OI Ls 4 5
11111100000s 6 3 111111101 1000s 5 5
111111000014 7 3 1111111011001s 6 4
11111100010 9 2 1112113011010s 7 4
ULL1000115 10 2 THIS1101 1011s 8 3
11111100100 15 2 1111111011100s 16 2
111111001018 1 1 11LT11£01 1101s 17 2
LIT11100210s 18 1 TEAVNIIONL IOs 18 2
HALLNOOIIIs 19 1 VIULETIONILILs 23 2
T1111101000s 20 t LM11111100000s 27 i
111111010015 23 3 1111111100001 28 I
111111010100s Q 13 IEIL1I1 1000803 29 !
LILINIOIOIOs 19 MIIPITL000T1s 30 1
TIB1L1010110s 0 20 TL12111 1001003 72 1
11110101118 1 9 11111111001013 33 1
1111110120005 1 10 . _ 7 Miia 007105 34 1
17110210018 2 6. 1111212100111 39 1
1110110104 3 5 IL111111010000s 0 26
LIALORNOTIs 4 4 HM EELG10001s 0 27
LU ENIOLE 100s 5 4 T1121111010010s 0 28
DALIO11 101s ut 2 TAUILIG1O0LIs ‘0 2
NOTE - The las bit 's denotes the sign of the level, 0 for positive, ‘I' for negative. 12111911010100s 1 13
: LNOTE - The last bit 's' denotes tho sign of the level. 'O' for positive, ‘I! for negative,

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Table 7-Sk. Variable length codes for det_cocff_next

‘Adct_coeff_next variable .
length code (NOTE) tun level
LITTEATIOU01OLs 1 14
L1211191010110s 2 B
LIILELLIOIONIs 2 9
11111121011000s 3 7
113121110110015 3 8
LEPLETEIOU 1010s 4 6
114111210120118 5 6
THELLOUL OG: 6 a
VELEIDLON 01s 15 3
LLELU22101 1820s 19 2
VALLIATIOLIIT As 20 2
14111111100000s 21 2
UL LE1111000015 22 2
VELLLILTIOOOIOs 24 2
1000R 1s 31 2
LOGidGs 35 1
AIILATTIOOIO!s 36 1
H1111111100110s a7 1
UTILAITL O01 21s 38 1
LTILI11 11010003 40 1
ILLLTILL100%s Al t
TLLITLLLTITITGs 0 30
VALIISTNO10101s 0 31
GTULLETE GiGi ids o 32
MILA LOLOLI Is 0 33
12111311101 1000s 1 15
TLIDLUT TIO 1001s 1 16
11111111101 1010s l 17
TUDLAIONONs 2 10
11111111 1G 1100s 3 9
UDILLLIO11201s 4 7
LiTTLLILIOLLLIGs 3 7
IRIVULIDIONII1Is 6 §
TLITH 1 T1200000s 7 5
111111111200001s 9 3
MADEL111100010s 10 3
ALIDLSIL11000115 MW 3
LLINILT11100100s 12 3
LLLLTLIE1100101 13 3
111211111100110s i4 3

LNOTE - The last bit ‘s' denotes the sign of the level, ‘0’ for positive, 'I* for tegative,

Table 7-5m, Encoding of run and level following escape code as a 20-bit fixed length
code (-127 <= level <= 127) or as & 28-bit fixed length code (-255 <= level <= -528, 128

<mIovel <= 255),
fixed length code run fixed length code level
0000 00 0 forbidden 756
0000 01 i 1000 0000 0000 0001 | -255
0000 10 2 1000 0000 0000 0010 | -254
ue vo tooo oon e111 1111 | «129
te ie 1000 0000 1600 0000 | -128
ee ve 7000 0001 “127
2 an 1000 0010 -126
qin 83 TIN Ino 2
Wu A
forbidden 0
0000 0001 1
ont 127
(0000 0000 Ta00 0000 | 126
6000 0000 1600 0001 | 123
0000 O000 LITT L117 9 355

Table 7-51, Variable length codes for det_cocif_next.

dct_coeif_pext variable

loagth code {NOTED fun level
LULU 100111 s 25 2
LIE 11101000s 26 2
1111111111020013 27 2
(ONILEIT11010105 28 2
TEIT1T1101011s 29 2
TLLNLITELOL1003 30 2
WA111 1111011015 32 2
TILITITELIOUIOS 39 2
TAM AL01IEs 42 1
TILTI1 £111 10000s - 3 1
ALALLIT 00013 a7 1
HLILLLTLL1001005 a 34
(ALITA 111001015 0 35
VELLTEL11100110s 0 36
MALILILE001 HLs ! “11g
H1LILE111101000s I 19
HLL1111111010015 I 20
ATUL TLL 111010108 1 21
TLULIRELTNLO1ONEs 2 ul
VELL HOHO0s 2 12
TALL ENTLL1101 1015 3 10
HDLLELIALIO1 1105 3 1
VATIUATTEIONTs 4 8
AILINLELN1110000s 4 9
UILLILTLI1 100013 4 8
LILI TITEL 6010s 6 7
TU TEELIUHOGLs 7 6
ALLL TL L10100s a 4
LNI1111111101013 33 2
SULIT UL1210110s a4 z
VAT EELILOt Is 35 2
TUT INI111000s 36 2
LETLIDLIL10015 37 2
VIAN ALLL11010s 3B 2
UVAEELELEL 110113 40 2
LEMLELLARLI EL 100s 44 I
LIUALULEELTIOLs 45 i
VIDLLLDLTELLELIOS 46 1
LILTEATELELLD Ibe aa :

NOTE - The fast bit 's’ denotes the si

of the level, '0' for positive, 'I' for negative,

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